           Case
           Case2:22-cv-02136-STA-jay
                1:22-md-03035-STA-jay Document
                                       Document66-8
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                                                         06/24/22 Page
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   AO 440 (Rev. 06/12) Summons in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Western District
                                                       __________ Districtofof
                                                                             Tennessee
                                                                               __________
                                                                 Eastern Division
IN RE: AME CHURCH EMPLOYEE
RETIREMENT FUND LITIGATION,                                            )
                                                                       )
DR. PEARCE EWING, ON Behalf of Himself and                             )
All Others Similarly Situated,                                         )
                               Plaintiff(s)                            )
                                                                       )
                                   v.                                          Civil Action No.MDL Docket No. 1:22-md-03035-STA-jay
                                                                       )
NEWPORT GROUP, INC., et al.                                            )                        USDC Docket No. 2:22-cv-02136-STA-jay
                                                                       )
                                                                       )
                                                                       )
                              Defendant(s)                             )

                                                       SUMMONS IN A CIVIL ACTION

   To: (Defendant’s name and address)              Rodney Brown & Company
                                                   495 Burnham Avenue
                                                   Calumet City, IL 60409




             A lawsuit has been filed against you.

            Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
   are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
   P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
   the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
   whose name and address are:
                                          Bruce A. McMullen, Esq.
                                          Baker, Donelson, Bearman, Caldwell & Berkowitz, P.C.,
                                          165 Madison Avenue, Suite 2000
                                          Memphis, Tennessee 38103

          If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
   You also must file your answer or motion with the court.



                                                                                 CLERK
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   Date:        6/24/2022
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Civil Action No. 2:22-cv-02136-STA-jay

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

       This summons for (name of individual and title, if any) Rodney Brown & Company was received by me on (date) June
27, 2022.

          X     I personally served the summons on the individual at (place) 17812 Old Trail Rd, Hazel Crest, IL 60429 on
                (date) Tue, Jun 28 2022 ; or
                I left the summons at the individual’s residence or usual place of abode with (name)                             ,a
                person of suitable age and discretion who resides there, on (date)                            , and mailed a copy
                to the individual’s last known address; or
                I served the summons on (name of individual)                              , who is designated by law to accept
                service of process on behalf of (name of organization)                            on (date)
                                        ; or
                I returned the summons unexecuted because:                              ; or
                Other:                              ; or

        My fees are $                               for travel and $                       for services, for a total of $
                                   .

        I declare under penalty of perjury that this information is true.



Date: 06/29/2022



                                                                                         Server's signature
                                                                   Robert Rusch 115.002287 Private Detective
                                                                                       Printed name and title


                                                                   3400 W 111th St #446, Chicago, IL 60655
                                                                                          Server's address

Additional information regarding attempted service, etc.:
1) Unsuccessful Attempt: Jun 27, 2022, 3:09 pm CDT at 495 Burnham Ave, Calumet City, IL 60409
This office is closed and the blinds are also close in the window. I walked around and know us there are apartments above the
unit. I spoke with a tenant who knows Rodney as he is the landlord. She called him and he asked her for my number to call me
and set up an appointment. She would not give me his number. I gave the tenant my number and she relayed that to him.

2) Successful Attempt: Jun 28, 2022, 8:40 pm CDT at 17812 Old Trail Rd, Hazel Crest, IL 60429 received by Rodney Brown
& Company. Age: 60’s; Ethnicity: African American; Gender: Male; Weight: 170; Height: 5'10"; Hair: Black; Relationship:
President;
Accepted by Rodney Brown
